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                             Exhibit A
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  Qatar: Governance, Security, and U.S. Policy

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     Summary
     The State of Qatar has employed its ample financial resources to exert regional influence and
     avoid domination by Saudi Arabia, the de facto leader of the alliance of six Gulf monarchies
     called the Gulf Cooperation Council (GCC: Saudi Arabia, Kuwait, Qatar, United Arab Emirates,
     Bahrain, and Oman). Qatar has intervened in several regional conflicts, including in Syria and
     Libya, and has engaged both Sunni Islamist and Iran-backed Shiite groups in Lebanon, Sudan, the
     Gaza Strip, Iraq, and Afghanistan. Qatar has maintained consistent dialogue with Iran while also
     supporting U.S. and GCC efforts to limit Iran’s regional influence.
     Qatar’s independent policies, which include supporting regional Muslim Brotherhood
     organizations and establishing a global media network called Al Jazeera, have injured Qatar’s
     relations with Saudi Arabia and some other GCC members. The differences erupted into a crisis
     on June 5, 2017, when Saudi Arabia, the UAE, and Bahrain, joined by Egypt and a few other
     governments, severed relations with Qatar and imposed limits on the entry and transit of Qatari
     nationals and vessels in their territories, waters, and airspace. The Trump Administration has
     sought, unsuccessfully to date—and despite hosting visits by several Gulf leaders including that
     of Qatar in March and April 2018—to mediate a resolution of the dispute. The Administration
     assesses that the prolonged rift threatens efforts to counter Iran and regional terrorist groups.
     Qatar has countered the Saudi-led pressure with new arms buys and deepening relations with
     Turkey and Iran.
     As do the other GCC leaders, Qatar’s leaders have looked to the United States to guarantee their
     external security since the 1980s. Since 1992, the United States and Qatar have had a formal
     Defense Cooperation Agreement (DCA) that reportedly addresses a U.S. troop presence in Qatar,
     consideration of U.S. arms sales to Qatar, U.S. training, and other defense cooperation. Under the
     DCA, Qatar hosts about 10,000 U.S. forces and the regional headquarters for U.S. Central
     Command (CENTCOM) at various military facilities, including the large Al Udeid Air Base. U.S.
     forces in Qatar participate in all U.S. operations in the region. In conjunction with the U.S.-Qatar
     security partnership, Qatar is a significant buyer of U.S.-made weaponry, including combat
     aircraft. In late January 2018, Qatar and the United States held the inaugural “Strategic Dialogue”
     in Washington, DC, in which U.S. officials hailed a strong U.S.-Qatar partnership on many fronts
     and signaled the potential for permanent U.S. basing there. Qatar signed a broad memorandum of
     understanding with the United States in 2017 to cooperate against international terrorism. That
     MOU appeared intended to counter assertions that Qatar’s ties to regional Islamist movements
     support terrorism and that Qatari leaders condone private Qatari citizen contributions to Islamist
     extremist organizations.
     The voluntary relinquishing of power in 2013 by Qatar’s former Amir (ruler), Shaykh Hamad bin
     Khalifa Al Thani, departed from GCC patterns of governance in which leaders generally remain
     in power for life. However, Qatar is also the only one of the smaller GCC states that has not yet
     formed a legislative body that is at least partly elected, even though such elections have long been
     promised. Further, U.S. and international reports criticize Qatar for failing to adhere to
     international standards of human and labor rights practices, and for failing to protect expatriate
     workers from abuses by Qatari employers.
     As are the other GCC states, Qatar is wrestling with the downturn in global hydrocarbons prices
     since 2014, now compounded by the Saudi-led embargo. Qatar is positioned to weather these
     headwinds because of its small population and substantial financial reserves. But, Qatar shares
     with virtually all the other GCC states a lack of economic diversification and reliance on revenues
     from sales of hydrocarbon products.



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     Qatar, often supports Muslim Brotherhood—to open a military base (Tariq bin Ziyad base) in
     Qatar45—an initiative that might have contributed to Turkey’s support for Qatar in the June 2017
     intra-GCC rift. One of the “13 demands” of the Saudi-led bloc has been that Qatar close the
     Turkish base in Qatar—a demand Qatari officials say will not be met. Turkey has demonstrated
     its support for Qatar by sending additional troops there and conducting joint exercises in August
     2017, and by increasing food exports to replace those previously provided by Saudi Arabia.
     Turkey further added to its Qatar troop contingent in December 2017.

     Defense Cooperation Agreement (DCA)
     The United States and Qatar signed a formal defense cooperation agreement (DCA) on June 23,
     1992. The DCA was renewed for 10 years, reportedly with some modifications, in December
     2013. The text of the pact is classified, but it reportedly addresses U.S. military access to Qatari
     military facilities, prepositioning of U.S. armor and other military equipment, and U.S. training of
     Qatar’s military forces.46
     Approximately 10,000 U.S. troops are currently deployed at the various facilities in Qatar. Most
     are U.S. Air Force personnel based at the large Al Udeid air base southwest of Doha, working as
     part of the Coalition Forward Air Component Command (CFACC).47 The U.S. personnel
     deployed to Qatar participate in U.S. operations such as Operation Inherent Resolve (OIR) to
     combat the Islamic State organization in Iraq and Syria. The air field, which also hosts the
     forward headquarters for U.S. Central Command (CENTCOM), has been steadily expanded and
     enhanced with Qatari funding as well as about $450 million in U.S. military construction funding
     since 2003.48 Qatar invested about $1 billion to construct the base in the 1990s. In March 2018,
     the State Department approved the sale to Qatar of equipment, with an estimated value of about
     $200 million, to upgrade the Air Operation Center at Al Udeid.
     The U.S. Army component of U.S. Central Command prepositions armor (enough to outfit one
     brigade) at Camp As Sayliyah outside Doha.49 U.S. armor stationed in Qatar was deployed in
     Operation Iraqi Freedom that removed Saddam Hussein from power in Iraq in 2003.
     The DCA also reportedly addresses U.S. training of Qatar’s military. Qatar’s force of about
     11,800 is the smallest in the region except for Bahrain. Of that force, about 8,500 are ground
     forces, 1,800 are naval forces, and 1,500 are air forces. A 2014 law mandates four months (three
     months for students) of military training for males between the ages of 18 and 35, with a reserve
     commitment of 10 years (up to age 40). U.S. CENTCOM Commander General Joseph Votel
     testified before the House Armed Services Committee on February 27, 2018, that Qatar is seeking
     to expand its military both in size and capacity.




     45
        “Turkey Opens First Mideast Military Base in Qatar.” Voice of America News, May 10, 2016.
     http://www.voanews.com/content/turkey-opens-first-middle-east-military-base-in-qatar/3323653 html.
     46
        U.S. Library of Congress. Country Studies: Persian Gulf States. Some provisions of DCA’s with other GCC states
     are discussed in Sami Hajjar, U.S. Military Presence in the Gulf: Challenges and Prospects (U.S. Army War College:
     Strategic Studies Institute), March 2002, p. 27.
     47
        See http://www.afcent.af mil/.
     48
        Figures compiled by CRS.
     49
        See Global Security.org at http://www.globalsecurity.org/military/facility/camp-as-sayliyah.htm.




     Congressional Research Service                                                                                   15
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                             Exhibit B
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                   Training (IMET); and $10 million in Foreign Military Financ-
                   ing (FMF) in fiscal year 2012.53 Bahrain agreed to purchase
                   close to $91 million in U.S. defense equipment and training
                   through Foreign Military Sales in fiscal year 2010,54 and in fis-
                   cal year 2011, it was granted U.S. Excess Defense Articles
                   (EDA) worth more than $55 million.55
                      Training has also been a significant component of U.S. secu-
                   rity assistance to Bahrain. In fiscal year 2010, 253 students
                   were trained in competencies such as maritime security, lead-
                   ership, maintenance, and counterterrorism at a value of $2.8
                   million.56
               Qatar
                 Qatar is the world’s wealthiest state on a per-capita basis, with
               only about 250,000 citizens and the third-largest natural gas re-
               serves. It has successfully translated this extraordinary wealth into
               outsized regional, and even global, political influence.
                 Home to al-Jazeera, Qatar presided over the United Nations
               General Assembly in 2011, and was recently awarded the 2022
               FIFA World Cup. It applauded the resignation of Egyptian Presi-
               dent Hosni Mubarak, played a critical role in supporting the Liby-
               an Transitional National Council, and has been at the vanguard of
               Arab efforts to isolate Syria—despite previously enjoying warm bi-
               lateral relations. It has also played an important regional medi-
               ation role in places as varied as Sudan, Yemen, Lebanon, Eritrea,
               and Palestine.
                 Qatar shares with Iran the North Field/South Pars reservoir, the
               largest gas field in the world. As a result, Qatar seeks to minimize
               tensions with its northern neighbor. However, the two countries
               have been notably at odds over Syria, which could raise bilateral
               tensions over time.
                 • U.S. Military Presence: In the aftermath of the liberation of
                   Kuwait in 1991, Qatar granted U.S. forces substantial access
                   to its military facilities.57 The following year, the two countries
                   solidified their defense relationship by signing a cooperation
                   agreement. Qatar invested $1 billion in the 1990s to expand Al
                   Udeid Air Base. Now, with its 15,000-foot runway and consid-
                   erable store of war reserve material, it is a critical logistical
                   hub for regional operations. Although Qatar subsidizes much of
                   the American presence, the United States has also invested in
                   Qatar’s security infrastructure. From 2003 to 2010, Congress
                   authorized over $394 million for military construction
                   projects.58 Home to approximately 7,500 American troops,59
                   Qatar is the forward deployed base of the U.S. Central Com-
                   mand and the Combined Air and Space Operations Center
                   (CAOC). At the CAOC, U.S. military officials manage airspace
                   authority, air defense, electronic warfare, and personnel recov-
                   ery in 20 regional countries, including Afghanistan.
                 • Qatari Military: Qatar maintains a small but professional mili-
                   tary force. With 11,800 active duty troops, it retains the second
                   smallest active duty military in the GCC.60 Qatar lacks an in-
                   tegrated air defense system, and with a small fleet of coastal
                   combatants and fighter aircraft it relies on American capabili-
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                                                  16

                   ties for its self-defense. Although its officers are well regarded,
                   a military career is not highly sought after by Qatari youth. In
                   an attempt to make military service more attractive, the officer
                   corps recently received a pay increase of 120 percent.61
                      Qatar has demonstrated a willingness to operate in the coali-
                   tion environment. After natural disasters in Haiti and Paki-
                   stan, Qatar was among the first to deploy humanitarian sup-
                   plies aboard its American-made C–17s. In addition to sup-
                   plying $400 million to arm and train the Libyan resistance,
                   Qatar provided Special Forces to lead the rebels in their Au-
                   gust 2011 assault on Tripoli.62 Although Qatari fighter jets
                   played a nominal part in air operations over Libya, one U.S.
                   military official described Qatar’s overall political and military
                   contribution to the Libya effort as ‘‘nothing short of decisive.’’ 63
                 • U.S. Security Assistance and Training: Qatar has traditionally
                   relied on the French for its military equipment,64 but as the
                   relationship with the United States develops, it is increasingly
                   willing to procure American-made weapons including fighter
                   aircraft and missile defense systems. In fiscal year 2010, Qatar
                   agreed to purchase $16.8 million in U.S. defense goods through
                   the Foreign Military Sales program.65 Sensitive to what they
                   perceive as costly administration fees, Qatar has been more in-
                   clined to acquire military equipment through the Direct Com-
                   mercial Sales program although, with improved bilateral gov-
                   ernment-to-government relations, there are indications that
                   this trend may be changing.66
                      In fiscal year 2010, Qatar educated 205 students through
                   U.S. military training programs, 35 percent of whom partici-
                   pated in programs through Foreign Military Sales at a value
                   of $5.8 million.67 Qatar also spent a significant amount of its
                   national funds to provide U.S. training for students in skills
                   from operational planning to leadership.68
               The United Arab Emirates
                  The United Arab Emirates is a unique federal state, comprised
               of seven emirates ruled by hereditary royal families. Known as the
               Trucial States before the UAE became fully independent in 1971,
               the federation slowly emerged through a series of treaties signed
               between individual sheikhdoms and the United Kingdom during
               the 150 year British protectorate period.69 Abu Dhabi, the capital,
               is the country’s center of political, economic, and cultural gravity.
               Dubai is an open, cosmopolitan city that has emerged in recent dec-
               ades as a global business and tourism hub, though it was hard hit
               by the global financial downturn.
                  On 12 April 2012, Iranian President Mahmoud Ahmadinejad vis-
               ited the island of Abu Musa, one of three Gulf islands subject to
               a longtime territorial dispute between Iran and the UAE. In re-
               sponse to this provocative act, the UAE condemned the visit in the
               ‘‘strongest possible terms’’ and recalled its ambassador to Tehran.70
                  The UAE has not faced significant public pressure since the Arab
               revolutions began in 2011, but a number of bloggers and activists
               have faced criminal charges.71 In March 2012, the National Demo-
               cratic Institute closed its offices in Dubai after its license was re-
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                             Exhibit C
Joint Statement of the Inaugural United States-Qatar Strategic Dialogue  Page 1 of 5
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U.S. Department of State
Diplomacy in Action
Joint Statement of the Inaugural United States-Qatar
Strategic Dialogue
Media Note
Office of the Spokesperson
Washington, DC
January 30, 2018




The governments of the State of Qatar and the United States held the inaugural Strategic Dialogue in Washington
D.C. on January 30, 2018. U.S. Secretary of State Rex W. Tillerson and U.S. Secretary of Defense James N. Mattis
co-chaired the opening session jointly with Qatari Deputy Prime Minister and Minister of State for Defense Khalid al-
Attiyah and Qatari Deputy Prime Minister and Foreign Minister Mohammed bin Abdulrahman Al Thani. U.S. Secretary
of Energy James R. Perry and U.S. Secretary of Commerce Wilbur L. Ross, Jr. participated in sessions with Qatari
Minister of Energy and Industry Mohammed al-Sada and Qatari Minister of Economy and Commerce Ahmed bin
Jassim Al Thani, respectively. U.S. Secretary of Treasury Steven T. Mnuchin and Qatari Minister of Finance Ali Sharif
al-Emadi co-chaired the closing ceremony.


The two countries welcomed this first Strategic Dialogue, highlighting the strength of their bilateral relationship and
the mutually beneficial opportunities for the peoples of both countries to deepen bilateral cooperation. Today, the
United States and Qatar underscored the strength of their ties and established a shared vision for the future of their
strategic partnership. The two governments took an important step to elevate the bilateral relationship by signing a
Memorandum of Understanding establishing an annual Strategic Dialogue.


In this inaugural Strategic Dialogue, the two countries discussed specific areas of partnership, including defense,
counterterrorism, combating extremism, and trade and investment. As those conversations continue, both the United
States and Qatar believe their continued mutual cooperation will benefit the interests of both countries, as well as the
security and stability of the Gulf region.


Qatar and the United States discussed and welcomed enhanced cooperation, particularly, but not limited to, the
areas described below.


Political Cooperation

Qatar and the United States expressed satisfaction at the recently strengthened and expanded bilateral relationship.
This highlights their shared commitment to advance global peace and prosperity.




https://www.state.gov/r/pa/prs/ps/2018/01/277776.htm                                                          6/13/2018
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Qatar and the United States discussed the Gulf crisis and expressed the need for an immediate resolution which
respects Qatar’s sovereignty. The two governments expressed concern about the harmful security, economic and
human impacts of the crisis. Concern was also expressed over peace and stability in the Gulf and adherence to
international law. Qatar emphasized its appreciation for the role played by the United States in the mediation of the
dispute in support of the efforts of the Emir of Kuwait. Qatar and the United States affirmed their backing for a strong
Gulf Cooperation Council that is focused on countering regional threats and ensuring a peaceful and prosperous
future for all its peoples.


Qatar emphasized the role of the United States in the region and the significant part it plays in countering threats of
terrorism and violent extremism. The two governments discussed regional security and stability, including joint efforts
to defeat ISIS, ongoing conflicts in Syria, Iraq, Libya, and Afghanistan, as well as efforts to resolve the Israeli-
Palestinian conflict.


The United States acknowledged Qatar's generous humanitarian role bilaterally and multilaterally through the work of
various UN agencies, in supporting forcibly displaced populations, and in assisting refugees including millions of
vulnerable young children and women. The United States acknowledged recent progress and commitments made by
Qatar on combating human trafficking and advancing labor rights. The two governments signed a Memorandum of
Understanding to continue progress in these areas.


The two governments intend to identify and prioritize areas for further cooperation based on the results of the
inaugural dialogue and decided to establish a working group to advance common policy priorities and political
partnerships.


Defense

Qatar and the United States emphasized the vital contribution their defense partnership provides for the security and
stability of the region. This cooperation is key to successfully combating terrorism, countering violent extremism, and
deterring external aggression. U.S. officials lauded Qatar’s contributions in supporting the sizeable U.S. military
presence in Qatar under the U.S. Central Command.


The two governments issued a Joint Declaration on Security Cooperation, affirming the two countries’ joint
commitment to promoting peace and stability and countering the scourge of terrorism. The United States expressed
its readiness to work jointly with Qatar to deter and confront any external threat to Qatar’s territorial integrity that is
inconsistent with the United Nations Charter.


The two governments discussed the $24.7 billion Foreign Military Sales (FMS) program that currently exists between
the United States and Qatar. Since 2014, Qatar has used its national funds to purchase state of the art military
systems and conduct extensive training at U.S. facilities. The United States thanked the Qatari government for those
purchases, noting they have resulted in over 110,000 American jobs and the sustainment of critical military
capabilities for the United States. Qatar highlighted the continued opportunity for future FMS and direct commercial
sales, particularly relating to the development of the Expeditionary Amphibious Capability, which could lead to several
billion dollars of future acquisitions and training in the near term, as well as an improved ability to defend against
external aggression and to better interoperate with U.S. and NATO military forces in coalition operations.




https://www.state.gov/r/pa/prs/ps/2018/01/277776.htm                                                              6/13/2018
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The United States welcomed Qatar’s offer to expand critical facilities at U.S. bases in the country. Qatari funding of
capital expenditures and sustainment offers the possibility of an enduring presence, as with U.S. facilities in Europe
and the Pacific. The two governments acknowledged the strong and lasting bilateral security partnership, and look
forward to further discussions on the possibility of permanent basing.


Counterterrorism

Both sides intend to strengthen their security and counterterrorism partnership to eradicate terrorism and violent
extremism. They reviewed the positive progress made under the terms of the Memorandum of Understanding on
Counterterrorism signed on July 11, 2017, including with respect to information sharing, countering the financing of
terrorism, aviation security, and capacity building. The United States thanked Qatar for its action to counter terrorism
and violent extremism in all forms, including by being one of the few countries to move forward on a bilateral
Memorandum of Understanding with the United States.


Qatar and the United States intend to begin the Anti-Terrorism Assistance training program as soon as possible, as
set forth in a Letter of Intent signed in 2017; the program will focus on key areas such as aviation security, terrorism
investigations, and the protection of soft targets.


The two governments also noted the recent conclusion of the Memorandum of Understanding between the U.S.
Attorney General and his Qatari counterpart on the fight against terrorism and its financing and combating cyber-
crime.


Qatar and the United States expressed the need to address violent extremism through preventive frameworks. They
emphasized the role that both countries are playing in founding and being leading donors of the Global
Counterterrorism Forum (GCTF) and the Global Community Engagement and Resilience Fund (GCERF).


Trade and Investment

The two governments acknowledged the challenges facing Qatar as a result of the GCC dispute, which disrupted
Qatar’s previous trading partnerships. Qatar noted that despite the dispute, Qatar has honored its international trade
obligations.


Qatar and the United States committed to boosting bilateral trade. They welcomed the role of U.S. companies in
Qatar’s development and of Qatari investment in U.S. firms and jobs. Both countries recognized the importance of
bilateral investment. The Qatari delegation described recent reforms designed to attract foreign investment in Qatar,
including free trade zones, expanding ownership for non-citizens, improvement of the banking system, consolidation
of the rule of law, including the development of a mechanism for dispute resolution.


The two governments recognized the importance of Qatar Investment Authority’s previously committed investment of
$45 billion in American firms, real estate, and jobs. Qatar Investment Authority’s chief executive described plans to
increase investments in U.S. infrastructure and to expand across the United States of America.




https://www.state.gov/r/pa/prs/ps/2018/01/277776.htm                                                          6/13/2018
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The two governments recognized the positive outcomes emerging from the bilateral Trade and Investment
Framework Agreement (TIFA) signed in 2004. It was noted that TIFA continues to serve as a platform for increased
cooperation in the fields of job creation, property law, communications, customs, SMEs, and new markets.


Qatar and the United States signed various Memoranda of Understanding and Letters of Intent in the fields of
bilateral trade, investment, and technology. They welcomed the United States’ Commercial Law Development
Program’s partnership with the Ministry of Finance, and officials signed a Letter of Intent on cybersecurity cooperation
and a Letter of Intent on smart technologies collaboration.


The two governments welcomed a set of Understandings on civil aviation reached January 29 aimed at ensuring
healthy competition in the global aviation sector while maintaining the Open Skies framework of U.S. international
aviation policy. Anchored in the two countries’ close bilateral economic and strategic relationship, the Understandings
represent important, high-level political commitments. They affirm both governments’ intention to promote best
practices for marketplace participation by their airlines, while ensuring a continuation of the important economic,
political, and cultural benefits of air services made possible by Open Skies.


Qatar and the United States stressed the importance of maintaining freedom of navigation, of overflight, and of
unimpeded lawful commerce in accordance with international law.


The two governments expressed their mutual desire to further strengthen their bilateral relations in the energy sector,
signing a Memorandum of Understanding to enhance cooperation between Qatar and the United States.


Forward Together

This new Strategic Dialogue process underlines the commitment of Qatar and the United States to increase
cooperation in fields that are of the greatest mutual and practical benefit. Such cooperation includes the issues
discussed today but also incorporates important work in the fields of sports, education, health, arts, and culture.


The two governments outlined a way forward together for the development of their partnership. They
committed to continue their dialogue and cooperation on issues including: combating regional terrorism and
violent extremism; countering the financing of terrorism; consolidating state of the art defense facilities; and
expanding their trade and investment partnerships. Qatar and the United States look forward to making
progress in these areas when the Dialogue reconvenes in Qatar in 2019. Both sides look forward to further
enhancing bilateral relations during the visit of the Emir of Qatar to Washington later this year.




https://www.state.gov/r/pa/prs/ps/2018/01/277776.htm                                                         6/13/2018
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https://www.state.gov/r/pa/prs/ps/2018/01/277776.htm                                                      6/13/2018
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  (/)




 Resource Center

        Middle East/North Africa (countries-regions/europe-middle-east/middle-east/north-africa)

    Bahrain (/countries-regions/europe-middle-east/middle-east/north-africa/bahrain)
    Egypt (/countries-regions/europe-middle-east/middle-east/north-africa/egypt)
    Israel (/countries-regions/europe-middle-east/middle-east/north-africa/israel)
    Jordan (/countries-regions/europe-middle-east/middle-east/north-africa/jordan)
    Kuwait (/countries-regions/europe-middle-east/middle-east/north-africa/kuwait)
    Morocco (/countries-regions/europe-middle-east/middle-east/north-africa/morocco)
    Oman (/countries-regions/europe-middle-east/middle-east/north-africa/oman)
    Qatar (/countries-regions/europe-middle-east/middle-east/north-africa/qatar)
    Saudi Arabia (/countries-regions/europe-middle-east/middle-east/north-africa/saudi-arabia)
    United Arab Emirates (/countries-regions/europe-middle-east/middle-east/north-africa/united-arab-emirates)
Home (/) / Countries & Regions (/countries-regions) / Europe & Middle East (/countries-regions/europe-middle-east) / Middle East/North Africa
(/countries-regions/europe-middle-east/middle-east/north-africa)

Qatar

                                                                          U.S.-Qatar Trade Facts

                              Qatar is currently our 55th largest goods trading partner with $6.1 billion in total (two way) goods trade during
                              2016. Goods exports totaled $4.9 billion; goods imports totaled $1.2 billion. The U.S. goods trade surplus with
                              Qatar was $3.8 billion in 2016.


                              According to the Department of Commerce, U.S. exports of Goods to Qatar supported an estimated 20 thousand
                              jobs in 2015 (latest data available).


Exports


   Qatar was the United States 40th largest goods export market in 2016.


   U.S. goods exports to Qatar in 2016 were $4.9 billion, up 16.7% ($703 million) from 2015 and up 285.2% from 2006.  


   The top export categories (2-digit HS) in 2016 were: aircraft ($3.3 billion), machinery ($374 million), vehicles ($363 million), special other
   (repairs, low value shipments) ($144 million), and electrical machinery ($139 million).


   U.S. total exports of agricultural products to Qatar totaled $81 million in 2016. Leading domestic export categories include: poultry meat &
   prods. (ex. eggs) ($21 million), beef & beef products ($12 million), dairy products ($6 million), snack foods nesoi ($6 million), and prepared
   food ($5 million).
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                                  #:2152
                                       HISTORY (/ABOUT-US/HISTORY)
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                                  ORGANIZATION (/ABOUT-US/ORGANIZATION)
                                                  #:2153
                                        POLICY OFFICES (/ABOUT-US/POLICY-OFFICES)
                          BIOGRAPHIES OF KEY OFFICIALS (/ABOUT-US/BIOGRAPHIES-KEY-OFFICIALS)
                                 ADVISORY COMMITTEES (/ABOUT-US/ADVISORY-COMMITTEES)
                                           CAREERS (/ABOUT-US/OHCS/CAREERS)
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                          Exhibit E
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                                      STATEMENTS & RELEASES



       Readout of President Donald J. Trump’s Call
      with Emir Tamim bin Hamad Al Thani of Qatar
                                              FOREIGN POLICY

                                      Issued on: January 15, 2018


                                             ★ ★ ★

     President Donald J. Trump spoke today with Emir Tamim bin Hamad Al Thani of Qatar to
     discuss ways to strengthen United States-Qatar bilateral relations on security and
     economic issues.  President Trump reiterated his support for a strong, united Gulf
     Cooperation Council that is focused on countering regional threats.  The President
     thanked the Emir for Qatari action to counter terrorism and extremism in all forms,
     including being one of the few countries to move forward on a bilateral memorandum of
     understanding. The leaders discussed areas in which the United States and Qatar can
     partner to bring more stability to the region, counter malign Iranian influence, and
     defeat terrorism.




https://www.whitehouse.gov/briefings-statements/readout-president-donald-j-trumps-call-e... 6/25/2018
